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   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
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  11   OLOFA S.,                                 Case No. EDCV 17-01067-CAS (RAO)
  12                       Plaintiff,
  13          v.                                 ORDER ACCEPTING REPORT
                                                 AND RECOMMENDATION OF
  14   KILOLO KIJAKAZI, Acting                   UNITED STATES MAGISTRATE
       Commissioner of Social Security,          JUDGE
  15
                           Defendant.
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             Pursuant to 28 U.S.C. § 636, the Court has reviewed the Motion for Attorney
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       Fees, the Commissioner’s Response, all of the other records and files herein, and the
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       October 8, 2021 Report and Recommendation of the Magistrate Judge (“Report”).
  20
       The time for filing objections to the Report has passed, and no objections have been
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       filed. The Court hereby accepts and adopts the findings, conclusions, and
  22
       recommendations of the Magistrate Judge.
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   1         IT IS ORDERED that the Application for $17,261.63 in attorney’s fees under
   2   42 U.S.C. § 406(b) is GRANTED, subject to Counsel reimbursing Plaintiff the
   3   amount of $5,200 for EAJA fees previously paid by the Commissioner.
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   5   DATED: November 4, 2021
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                                           CHRISTINA A. SNYDER
   7                                       UNITED STATES DISTRICT JUDGE
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